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   UNITED STATES DISTRICT COURT
   EASTERN DISTRICT OF NEW YORK
   ----------------------------------------------------------X
   TROOPER 1,                                                :
                                                             :   Case No.: 22-cv-00893 (LDH)(TAM)
                                     Plaintiff,              :
                                                             :
                      v.                                     :
                                                             :
   NEW YORK STATE POLICE, ANDREW                             :
   CUOMO, MELISSA DEROSA and                                 :
   RICHARD AZZOPARDI,                                        :
                                                             :
                                     Defendants.             :
   ----------------------------------------------------------X

               DECLARATION OF VALDI LICUL IN SUPPORT OF PLAINTIFF’S
                          MOTION TO QUASH SUBPOENAS

  I, Valdi Licul, pursuant to 28 U.S.C. § 1746, declare and state as follows:

          1.       I am a member of the bar of this Court and a Partner at the law firm Wigdor LLP,

  attorneys for Plaintiff Trooper 1 in the above-captioned matter.

          2.       Attached hereto as Exhibit 1 is a true and accurate copy of Defendant Andrew

  Cuomo’s subpoena to Lindsey Boylan.

          3.       Attached hereto as Exhibit 2 is a true and accurate copy of Defendant Andrew

  Cuomo’s subpoena to Charlotte Bennett.

          4.       Attached hereto as Exhibit 3 is a true and accurate copy of Defendant Andrew

  Cuomo’s subpoena to Hamilton College.

          5.       Attached hereto as Exhibit 4 is a true and accurate copy of Defendant Andrew

  Cuomo’s subpoena to Howard Zemsky.

          6.       Attached hereto as Exhibit 5 is a true and accurate copy of Defendant Andrew

  Cuomo’s subpoena to “Lindsey For New York.”
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         7.     Attached hereto as Exhibit 6 is a true and accurate copy of Defendant Andrew

  Cuomo’s subpoena to the Office of the Governor of New York State (the Executive Chamber).

         8.     Attached hereto as Exhibit 7 is a true and accurate copy of Defendant Andrew

  Cuomo’s subpoena to Verizon.

         9.     Attached hereto as Exhibit 8 is a true and accurate copy of Defendant Andrew

  Cuomo’s subpoena to Cade Leebron.

         10.    I declare under penalty of perjury that the foregoing is true and correct to the best

  of my knowledge.

  Dated: June 30, 2023
         New York, New York

                                                       By: ______________________________
                                                              Valdi Licul




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